  Case 3:18-cv-00038-ARC Document 99 Filed 05/13/19 Page 1 of 1




           IN THE UNITED STATES DISTRICT COURT
        FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
ALIREZA BAKHTIARI
                                               No. 3:18-CV-38
    PLAINTIFF,

          v.
                                               (JUDGE CAPUTO)
JASON MADRIGAL, ET AL.,
                                               (MAGISTRATE JUDGE
    Defendants.                                CARLSON)

                                    ORDER
    NOW, this 13th day of May, 2019, IT IS HEREBY ORDERED that:
    (1)   The Report and Recommendation (Doc. 84) is ADOPTED in part and
          as REJECTED in part as stated in the accompanying memorandum.
    (2)   PCCF Defendants’ Motion for Summary Judgment (Doc. 31) is
          GRANTED in part and DENIED in part as follows:
          (A)     The Motion for Summary Judgment is GRANTED as to all claims
                  against Defendants Forshe and Wenzel, all Hepatitis C claims, the
                  access to courts claim against Defendants Martin and Frawley, and
                  the Eighth Amendment strip search claim against Defendant
                  Martin.
          (D)     The Motion for Summary Judgment is DENIED in all other
                  respects.
    (3)   The Matter is placed on this Court’s August 2019 trial list.



                                              /s/ A. Richard Caputo
                                              A. Richard Caputo
                                              United States District Judge
